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CLERK OF DISTRICT
NORTHERN DIST OF 1X
FORT WORTH DIVISION

IN THE UNITED STATES DISTRICT COURT riLED

FOR THE NORTHERN DISTRICT OF TEXAS 20/9MAR-6 PM 3:29

FORT WORTH DIVISION
DEPUTY CLERK

CARALEA BARKER, §

§
Plaintiff, §

§
Vv. § CIVIL ACTION NO. 4:19-cv-00060-A

§
BANK OF AMERICA CORPORATION, §

§
Defendant. §

JOINT NOTICE OF SETTLEMENT

Plaintiff Caralea Barker (‘Plaintiff’) and Defendant Bank of America, N.A.
(“Defendant”) (collectively, the “Parties”) hereby file this Joint Notice of Settlement (the
“Notice”) and state the following:

1. The Parties hereby notify the Court they have reached a settlement of their
dispute. The settlement resolves all claims at bar the Parties have asserted against each other in
their live pleadings in this proceeding.

2. The Parties are currently in the process of preparing a formal, written settlement
agreement and request the Court grant a stay as to all deadlines, settings and related matters in
this proceeding, and to retain this case as open on the Court’s docket to afford the Parties
sufficient time to draft and execute such agreement and the necessary and related settlement
papers and notices.

3, The Parties anticipate filing with the Court a Stipulation of Dismissal with

Prejudice within 30 days.

 

WHEREFORE, PREMISES CONSIDERED, the Parties notify the Court they have

settled all live claims in this cause and request the Court retain jurisdiction over this matter; stay

 

Joint Notice of Settlement Page 1 of 4

 
Case 4:19-cv-00060-A Document11 Filed 03/06/19 Page 2of4 PagelD 61

all pending deadlines, settings and other related matters; and maintain the case as open on the

Court’s docket until the Parties file formal dismissal papers.

 

Joint Notice of Settlement Page 2 of 4

 

 
 

Case 4:19-cv-00060-A Document 11. Filed 03/06/19 Page 30f4 PagelD 62

Dated: March 6, 2019

NOTICE OF SETTLEMENT

Respectfully submitted,

“Math (duh

 

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ATTORNEYS FOR PLAINTIFF

Page 3 of 4
Case 4:19-cv-00060-A Document11 Filed 03/06/19 Page4of4 PagelD 63

CERTIFICATE OF SERVICE

I hereby certify that, on March 6, 2019, a copy of the above and foregoing was filed with
the Court in traditional paper form. Notice of this filing has been forwarded to all counsel of
record via e-service.

 

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NOTICE OF SETTLEMENT Page 4 of 4

 

 
